                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

United States of America,                 )
                             Plaintiff,   )
                                          )
             v.                           )     No. 2:10-cr-04052-FJG-4
                                          )
Jeffrey Cordell Patterson,                )
                             Defendant.   )


                         ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

Matt J. Whitworth (Doc. #127 filed on March 19, 2013), to which no objection has been

filed, the plea of guilty to Count 1 of the Second Superseding Indictment which was filed

on June 23, 2011, is now accepted. Defendant is adjudged guilty of such offense(s).

Sentencing will be set by subsequent order of the court.


                                                 /s/ Fernando J. Gaitan, Jr.
                                                Fernando J. Gaitan, Jr.
                                                Chief United States District Judge

Dated: April 16, 2013
Kansas City, Missouri




      Case 2:10-cr-04052-FJG          Document 131   Filed 04/16/13   Page 1 of 1
